Case A: 09- -CI- 00043- SPF Document 440-3 Filed in: USDC NPIOK on oz/i6/a4 Page 1 1 of 20

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initial seizure nor began another,” id., and it didinot “equate to a ‘seizure’ within
the meaning of the Fourth Amendment,” /d. at ab.

Likewise, in Wagner v. Higgins, 754 F.2d 186, 187 (6th Cir. 1985), the
plaintiff filed a § 1983 action asserting that after he was arrested and his
automobile was impounded, police officials stole personal property from the
automobile tn violation of his Fourth and Fourteenth Amendment rights. Noting
that the plaintiff did not challenge his arrest or the impoundment of lus vehicle as
violating the Fourth Amendment, the Sixth Circuit determined that there was no
Fourth Amendment violation for the inventory search. /d. at 189-90. Further, the
court held that after Parratt v. Taylor, 451 U.S. 527 (1981), the plaintiff did not
state a claim for relief under the Fourteenth Amendment and could seek return of

the property under state conversion law. Wagner, 754 F.3d at 187, 191-92.°

‘ Case law decided after September 2005 also does not clearly establish a

Fourth Amendment violation. In Case v. Hsfinger, 555 F.3d (317, 1330 (11th Cir.
2009), the Eleventh Circuit declined to hold that'the retention of legally seized
property violated the Fourth Amendment. Instead, the court decided that failure
to return items presented a Fourteenth Amendment due process claim. /c/.

In Ali v. Ramsdell, 423 F.3d 810, 811-(2 (8th Cir. 2005). the plaintiff,
proceeding under § 1983, alleged that her Fourth Amendment rights were violated
when a police officer executing a search warrant seized money during the search
and converted it to his own use. The Eighth Circuit expressed “considerable
doubt whether an allegation that property appropriately seized in executing a
valid search warrant but not inventoried and stored in the manner required by
state law even states a claim under the Fourth Amendment.” /d. at 814. Rather.
the court determined that the plaintiff's Fourth Amendment claim was properly
dismissed because it was “barred by the availability of an adequate remedy under

. (continued...)

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Case 4:09-cr-00043-SPF Document 440-3 Filed in USDC ND/OK on 02/16/11 Page 2 of 20

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In comparison, the Fourth Circuit, in an unpublished case. determined that

a theft of property constitutes a Fourth Amendment violation. In Afon’s (ne. ¥.
Willman, 109 F. App’x 629, 636-37 (4th Cir. 2004) (per curiam). the court held
that the Fourth Amendment protected against the theft of a watch because the
theft by the federal agents extended the seizure beyond its lawful duration. The
court, however, also held that “those rights were not clearly established when the
theft allegedly occurred.” /d. at 636. Thus, the court determined that the federal
agents were entitled to qualified immunity. /d. at 637.

Given the disparity in the law, we conclude that it was not clearly
_ established at the time of the search that the agents” alleged conduct of stealing
money after it was lawfully seized pursuant to a valid search warrant violated the
Fourth Amendment. Accordingly, we must also conclude that the agents were
entitled to qualified immunity. We reverse the district court’s denial of qualitied
immunity, and remand for the court to enter judgment in favor of the agents.

FIFTH AMENDMENT VIOLATION

The agents argue that Mr. Springer’s arguments are more approptiately
characterized as a Fifth Amendment claim for deprivation of property without due
process. As they recognize, however, and as Mr. Springer emphasizes, he did not

assert a Fifth Amendment claim. We therefore will not address one.

°(...continued)
state law.” /d. at 814-15 (relying on Huclson v. Palmer, 468 U.S. S17 (1984)).

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CONCLUSION
The judgment of the district court is REVERSED, and the case 1s
REMANDED to the district court for further proceedings consistent with this

decision. Mr. Springer’s motions to dismiss and for sanctions are DENIED.
Entered for the Court

David M. Ebel
| Circuit Judge

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Case 4 A: 09- -cr-00043- SPF Document 440-3 Filed in USDC ND/OK on 1 02/16/11 Page 4 of 20
Appeals Case O9-3088 Document GIO1SS515814 Data Fhe: i PEEL Bic:
. U nited States Court of Appeals
Tenth Circuit

UNITED STATES COURT OF APPEALSOctober 15, 2010

FOR THE TENTH CIRCUIT Elisabeth A. Shumaker
Clerk of Court

LINDSEY &. SPRINGER,

Plaintiff-Appellee,

v. No. 09-5088
(D.C. No. 4:06-CV-00 156-GKF-FHM)
CHRISTOPHER D. ALBIN; JASON ! (N.D. Okla.)

C. WHITE; DONALD A.
ANDERSON; MARC K. COLLINS;
KATHY L. BECKNER; DONALD G.
SHOEMAKE: BRIAN SHERN; _
WILLIAM R. TAYLOR; SCOTT A.
WELLS; DIANA S. MEGLI, LOY
DEAN SMITH,

Defendants-Appellants.

ORDER

Before McKAY, Circuit Judge, BRORBY, Senior Crecuit Judge, and EBEL,
Circuit Judge.

This matter is before the court on Appellee’s petition for rehearing with
suggestion for rehearing en banc. The petition for panel rehearing 1s granted
solely to clarify on pages 13, 15, and [8 that the agents were executing a valid
search warrant at the time the lawfully seized money allegedly was stolen. In all
other respects, panel rehearing is denied. The panel’s original order and

judgment is withdrawn, and a revised order and judgment is attached to this order.

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The suggestion for rehearing en banc was transmitted to all of the judges of

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the court who are in regular active service as required by Fed. R. App. P. 35. As

no member of the panel and no judge in regular active service on the court

requested that the court be polled, the suggestion is denied.

Entered for the Court,

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ELISABETH A. SHUMAKER, Clerk

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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

LINDSEY K. SPRINGER
Plaintiff,
Vv.

Civil No. 4:06-cv-00156-GKF-FHM

DOUGLAS HORN, et. ai.

Nee ee ee ee ee ee ee ee

Defendants.
DEFENDANTS’ RESPONSE TO SPRINGER’S MOTION TO RECONSIDER
DISMISSAL ON SUMMARY JUDGMENT GROUNDS DUE TO MATERIAL FALSE
STATEMENTS
Plaintiff, Lindsey K. Springer, moves this Court to reconsider its orders finding that two
Assistant United States Attorneys (“AUSAs”) and 11 IRS Special Agents are immune from suit
in this purported Bivens action. (Doc. # 205). This Court directed the defendants to respond to
Springer’s motion by February 8, 2011. (Doc. # 207). Springer argues that the defendants could
not investigate and prosecute him for tax offenses because the Secretary of the Treasury did not
authorize them to do so. Springer’s arguments are frivolous and his motion should be denied.
I. Statement of Facts
Springer’s lawsuit stems from the 2005 execution of a search warrant at his residence as
part of an investigation into his tax activities. See Springer vy. Albin, 2010 WL 4027821 (10th
Cir., Oct. 15, 2010) (reciting the facts of this action). In November 2009, a jury found Springer .
guilty of six tax-related counts of tax evasion, conspiracy to defraud the United States, and
failure to file a tax return. See United States v. Springer, Case No. 4:09-cr-00043-SPF (N.D.

Okla.), Jury Verdict (Doc. # 245, Nov. 16, 2009), Judgment (Doc. # 337, Apr. 28, 2010). Ashe

argues here, Springer argued in his criminal case that the AUSA and Justice Department attorney

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prosecuting him (as well as an IRS agent) had no authority to take any action outside the District
of Columbia. See Id., Motion for New Trial (Doc. # 262, Dec. 8, 2009). In his criminal case,
Judge Friot rejected Springer’s argument on the merits in addition to the fact that he untimely
raised the issue. See Id., Order (Doc. # 293, Jan. 28, 2010).

Springer brought this action on March 14, 2006, against two AUSAs and 11 IRS Special
Agents. (Doe, #2). On November 25, 2008, the Court granted the defendant AUSAs’ motion
for summary judgment, finding that the AUSAs were immune from suit on the basis.of
prosecutorial immunity (for AUSAs Horn and Nelson) and qualified immunity (for AUSA
Nelson).! (Doc. # 150). The Court denied the defendant IRS agents’ motion for summary
judgment and subsequent motion to amend judgment under Fed. R. Civ. P. 59(e). (Docs. # 172,
185). The defendant IRS agents timely appealed. Albin, 2010 WL 4027821 at *3-5.

The Court of Appeals held “that there was no clearly established Jaw holding that a theft
of money during the execution of a valid search warrant violates the Fourth Amendment.” Albin,
2010 WL 4027821 at *6. Accordingly, the Court of Appeals held that the defendant agents were
entitled to qualified immunity from suit and remanded the case back to this Court to enter
judgment in favor of the defendant agents. Jd. at *8. Following the Court of Appeals’ mandate,
this Court entered a final judgment in favor of all of the defendants on December 20, 2010.

(Doc. # 206).

' Springer filed a motion to reconsider the Court’s order granting summary judgment to
the AUSAs on December 5, 2008, which the Court denied three days later. (Doc. # 152, 153).

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Il. Argument
As an initial matter, Springer fails to address how this Court could reconsider its
judgment in favor of the defendant IRS agents. The Court of Appeals “remand[ed] for the court
to enter judgment in favor of the agents.” Albin, 2010 WL 4027821 at *8. The “mandate rule”
requires a lower court to “comply strictly with the mandate rendered by the reviewing court.”
Colorado Interstate Gas Co. v. Natural Gas Pipeline Co. of America, 962 F.2d 1528, 1534 (10th
Cir. 1992); see also Huffman v. Saul Holdings Ltd. P’ship, 262 F.3d 1128, 1132 (10th Cir. 2001).
The Court of Appeals’ mandate required judgment in favor of the defendant IRS agents, and this
Court is not free, absent an “extraordinary situation,” to alter the judgment mandated by the
Court of Appeals. Colorado Interstate Gas, 962 F.2d at 1534. Given that his arguments have
already been rejected by the judge in his criminal case, Springer has failed to demonstrate any
circumstance, much less an extraordinary situation, to disturb the Court of Appeals’ mandate.
Springer’s argument also fails on the merits. Springer contends that the AUSAs and IRS
agents are not delegates of the Secretary of Treasury and that they cannot exercise any authority
outside the District of Columbia. Springer’s argument is frivolous and should be summarily
‘denied. See United States v. Dawes, 161 Fed. Appx. 742, 746 (10th Cir. 2005) (unpublished)
(holding that similar argument was frivolous and not meriting further comment, citing Lonsdale
v. United States, 919 F.2d 1440, 1448 (10th Cir. 1990)). The Justice Department is the agency
responsible for conducting criminal trials on behalf of the United States. 28 U.S.C. §§ 515, 516.
Moreover, the United States Attorneys for each district are responsible for prosecuting “all
offenses against the United States”, which includes federal tax offenses. 28 U.S.C. § 547(1).

Last, IRS Special Agents are authorized to execute search warrants. 26 U.S.C. § 7608(b).

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Springer’s contention that these government officials cannot operate outside the District of

Columbia is plainly false.
II. Conclusion
Springer is attempting to use this motion to litigate issues he knows to be without merit.
The Court should not condone Springer’s attempt and consequently, his motion for
reconsideration should be denied.
Dated: January 25, 2011.
Respectfully submitted,

THOMAS SCOTT WOODWARD
United States Attorney

/s/ James C. Strong
ROBERT D. METCALFE DC# 423163
JAMES C. STRONG ID # 7428
U.S. Department of Justice, Tax Division
P.O. Box 7238, Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 307-6525

(202) 514-9953 ©
Email: robert.d.metcalte@usdoj.gov

james.c.strong@usdoL.gov

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CERTIFICATE OF SERVICE
IT IS HEREBY CERTIFIED that the foregoing DEFENDANTS’ RESPONSE TO
SPRINGER’S MOTION TO RECONSIDER DISMISSAL ON SUMMARY JUDGMENT
GROUNDS DUE TO MATERIAL FALSE STATEMENTS was filed with the Clerk of the Court
electronically today, January 25, 2011, such that a service copy was sent by way of the electronic
filing system to all parties who have arranged for electronic service of filings. The foregoing has
also been served on the non-CM/ECF participants in this civil action by mailing a true and correct

copy thereof by first-class mail, postage prepaid, to the following:

Lindsey K. Springer, individually and as Co-Trustee of the S.L.C.A. Family Trust
Inmate # 02580-063

FCI-Big Springs

1900 Simler Avenue

Big Springs, TX 79720

s/ James C, Strong

JAMES C. STRONG

Trial Attorney, Tax Division
U.S. Department of Justice
Post Office Box 7238

Ben Franklin Station
Washington, D.C. 20044
Telephone: (202) 514-9953

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IN THE UNITED STATES DISTRICT COURT
_ FOR THE NORTHERN DISTRICT OF OKLAHOMA

LINDSEY K. SPRINGER,
Plaintiff,

VS. Case No. 06-CV-156-GKF-FHM
DOUGLAS HORN, Individually;
MELODY NOBLE NELSON,
Individually; BRIAN SHERN,
Individually; and 10 Unknown Agents
of the Internal Revenue Service,
Individually; and Others Unknown,
Individually,

Nee ee ee ee ee ee ee ee ee Ne a Ne Se”

Defendants.

DECLARATION OF IRS SPECIAL AGENT BRIAN SHERN
_ I, BRIAN SHERN, declare that: .

1. I am a duly commissioned Special Agent with the Criminal Investigation
Division of the Internal Revenue Service with post of: duty in Tulsa, Oklahoma. I have
been a Special Agent since February 11, 2005.

2. This Declaration is being executed in support of the individual federal
defendants’ motion for summary judgment in the above-captioned civil action. | am one
of the defendants in this civil action.

3. Except where specifically noted to the contrary, I have personal
knowledge of the facts set forth in this Declaration, and, if called upon to testify to said
facts, could do so competently.

4. As a Special Agent with the Internal Revenue Service — Criminal
Investigation, I have the authority to perform all duties conferred upon such officers

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under all laws and regulations administered by the Internal Revenue Service, including

the authority to investigate, execute and serve search warrants and arrest warrants, make
arrests without warrant, carry firearms, make seizures of property subject to forfeiture
and to require and receive information, as to all mattefs relating to such laws and
regulations. -

5. On or about April 26, 2005, I was assigned as the case agent to conduct an
investigation of Lindsey Springer for allegations of violations of Title 26, United States
Code, including tax evasion and failure to file income. tax returns. On September 15,
2005, I presented an application and affidavit for search warrant to search Springer’s
residence in Kellyville, Oklahoma, to United States Magistrate Judge F rank H.
McCarthy. On the same date, Magistrate Judge McCarthy signed a search warrant to
search Lindsey Springer’s Kellyville, Oklahoma, residence. A true and correct copy of
the Search Warrant (including Attachments A and B thereto) is attached to this
Declaration as Exhibit 4.

The execution of the search warrant on September 16, 2005

6. The authority of Special Agents of the Internal Revenue Service —
Criminal Investigation to execute search warrants is set forth in section 7608(b) of the
Internal Revenue Code (26 U.S.C.). On September 16, 2005, { and ten other Special
Agents with the Internal Revenue Service — Criminal investigation executed a search
warrant signed by U.S, Magistrate Judge Frank H, McCarthy on September 15, 2005,
with respect to the personal residence of Lindsey K. Springer in Kellyville, Oklahoma.

7. I arrived at Lindsey Springer’s residence in Kellyville, Oklahoma at

approximately 8:20 a.m. on the morning of September 16, 2005. At the outset of the

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execution of the search warrant, I explained to Mr. Springer that we were conducting a
search of his residence in accordance with the search warrant signed by Magistrate Judge
McCarthy on September 15, 2005. I showed Mr, Springer a copy of the search warrant.
To ensure the safety of both Mr. Springer and the IRS Special Agents who were assigned
to assist me in the execution of the search warrant, Mt. Springer was asked if any
firearms or weapons were located in his home.

8. In the presence of IRS Special Agent Donald G. Shoemake, I asked Mr.
Springer if there was a more private place where we could speak to him. Mr. Springer
led Agent Shoemake and myself to an upstairs bedroom where we interviewed Mr.
Springer from approximately 8:27 a.m. to approximately 11:20 a.m.

9. At the conclusion of the search on September 16, 2005, all of the evidence
seized from Lindsey Springer’s residence was placed in the back of Supervisory Special
Agent William R. Taylor’s vehicle to be transported back to the IRS-CI Office in Tulsa,
Oklahoma.

The seized currency is counted at Arvest Bank

10. — After contacting IRS Special Agent Mark Parsons, a forfeiture specialist, it
was decided by Supervisory Special Agent Taylor and myself that the currency seized
from Mr. Springer’s residence would be taken to a bank and converted into a cashier’s
check.

11. Upon leaving Springer’s residence in Kellyville, Oklahoma, Supervisory
Special Agent Taylor and myself traveled to the Arvest Bank located at 10615 E. 81*
Street in Tulsa, Oklahoma. Once we arrived at the Bank, we informed the branch

manager, Julie Powders, that we needed to obtain a cashier’s check.

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12. We gave the sealed evidence bag containing the currency seized from
Springer’s residence to Ms. Powders, who gave the evidence bag to a teller on duty to
count the cash using a currency counting machine. The teller opened the evidence bag in
order to count the currency seized from Springer’s residence, and counted it using a
counting machine.

13. The teller who counted the currency contained in the evidence bag
informed Supervisory Special Agent Taylor and myself that there was $17,000 in the
evidence bag. We requested the teller to count the cvirtency a second time, which she
did. The count of the currency again came to $17,000.

14... We requested a check for $17,000, which we obtained from the teller who
had counted the currency. The $17,000 cashier’s check was subsequently given to
Special Agent Parsons to deposit.

Springer’s motion for the return of currency and car titles

15. After the execution of the search warrant on September 16, 2005, I was
informed that Mr. Springer had filed a motion from the Court for the return of the
currency and car titles seized from him on September 16, 2005. I was also informed that
AUSA Nelson had responded to Mr. Springer’s motion for the return of the currency and
car titles, and that the District Court had denied Mr. Springer’s motion.

16. After the Court denied Mr. Springer’s motion for the return of the
currency .and car titles, I was instructed by Assistant United States Attorney Douglas

Horn to return the seized currency and car titles to Mr. Springer. [ then made a request to.

Robin Bryant, a forfeiture specialist, to obtain the $17,000 to give back to Springer.

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17. On January 10, 2006, after I obtained a $17,000 Treasury Department
check from Robin Bryant, I went to Springer’s house in Kellyville, Oklahoma, to give
him the $17,000 Treasury check. A true and correct copy of the $17,000 Treasury check
is attached to this Declaration as Exhibit 5

18. After tendering the $17,000 Treasury check to Springer, I asked him to
sign an Internal Revenue Service Release of Claim (Hereinafter, “Release of Claim’). I
wrote the handwritten words and figures that appear én the Release of Claim. A true and
correct copy of the Release of Claim signed by Lindsey Springer in my presence (and
myself as witness), is attached to this Declaration as Exhibit 6.

19. I was not present for the search of Mr: and Mrs. Springer’s first-floor
master bedroom, or the seizure of the currency pursuant to the search warrant issued by
U.S. Magistrate Judge Frank H. McCarthy on September 15, 2005. My sole involvement
with the currency seized from Springer’s residence was to take it, in a sealed evidence
bag, to the Arvest Bank for counting.

20. I did not steal any money from Lindsey K. Springer, or enter into any
agreement or conspiracy with former Assistant United States Attorney Melody Nelson,
Assistant United States Attorney Douglas Horn or any IRS Special Agent, or anyone else,

to steal any money from Lindsey Springer.

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CERTIFICATION

Pursuant to 28 U.S.C. § 1746, I declare under, penalty of perjury that the foregoing
is true and correct.

Executed on November 2@, 2007.

22. Ga
BRIAN SHERN

Special Agent
Internal Revenue Service

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CERTIFICATE OF SERVICE
~ {TIS HEREBY CERTIFIED that service of the forgoing DEC LARATION was filed
with the Clerk of the court electronically today, July 14, 2008, such that a service copy was sent

_ by way of the electronic filing system to the plaintiff and‘all counsel who have arranged for

electronic service of filings

/s/ Robert D. Metcalfe

ROBERT D. METCALFE DC #423163
Trial Attorney, Tax Division

U.S. Department of Justice

P.O. Box 7238

Ben Franklin Station

Washington, D.C. 20044

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June 20, 2005
CERTIFIED MALT - RETURN RECELET REQUESTED ,
Davi OO Mei la, Feopire :

Vnihect States Attorney
Norbhneru District of Oklahoma
4600 United Stiaces Courrhouse
116 West 7! Street

Vuisiea, OK P2LLO

Atta: AUSA Melody Noble Nelson

Re: Grand Jury Investigation
Fattersonr Investigation
Northern Districe of Oklahoma

DH O - SEN 745

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Cotmreduiing: Lisdgsey KR. Spa ities

hear Mr. O/’ Med la:
,

Reference iS made to a letrer dared June 4, YOOm, Che. Spo
Agent ii Charge, Tnternal Revenue Service, Dallas, Texas, appears tiny
your peqghest to expand an existing non-tax quand jury invesblasgablici ba
include an investigation of potential criminal tax violations in the
above-ontitnted matter. In accordance with Tax Division Pirective 86
59, the Tax: Division has no objection to this expansion.

:

Do,

Porsuant to established procedures, no tax or tax-related
cherges, ineluding charges to which a target has agreed to ewer Lito
a plea agreement, may be Filed without prior approval of the Pax

Division. You are reminded that any expanSion of this grand jury
imvestigqatrou, to include additional targets, requires Tax Division
approval as well. Ef you determine that use wf sche sbutiboes

compulsion process pursuant to 18 U.S.C. § 6003 (by or aren
prosecution agreement with a witness (“lentes immunity") ps satiate d,
refer to the procecures set forth in § Y-ES.000, eho seg., and

OLS ALM. § 9 27 6900, Sh seq., respects

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Case 4:09-cr-00043-SPF Document 440-3 Filed in USDC ND/OK on 02/16/11 Page 19 of 20

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Upon conclusion of the investigation, please provide the
testimony, documents, and other materials accumulated by the grand
jury to the assisting Internal Revenue: Service agent for the sole
purpose of analyzing the potential criminal tax aspects of the case
and preparing a report setting forth his or her recommendation
regarding presecution. ‘This report will be reviewed by an Interna!
Revenue Service Counsel, who will make: a written evaluation and
recommendation to the Special Agent-in-Charge. The Special Agent-in-
Charge will forward the reports and exhibits, along with his or her
recommendation regarding prosecution to the Tax Division.

you must provide the Tax Division with a written repork ef your

vlews regarding the prosecution potential of this case, Lhe nor-tax
charges, if any, that you intend to bring, and the anticipated date of
indictment. In addition, the case should be submitted to the Tax
Division for review at least 60 days prior toa the date on which you

neeci a decision.

You have the authority to terminate this investigation, provided
that prior written notification is given to both the Tax Division and
rhe Internal Revenue Service. This notification should indicate that
the matter is terminated pursuant to 26 U.S.C. § 7602(d). Please be
reminded that your use of all tax returns and return informaticn is
governed by 26 U.S.C. § 6103(h). In the event that the tax aspects of
the investigation are terminated, you must obtain a court order
oursuant to Section 6103(1) in order to retain and use such returns
aud return information previously obtained under ‘Section 6103 (h).

In all future correspondence, please use the fellowing caption:

Re: Grand Jury Investigation
Patterson Investigation
Northern District Oklahoma
DUH 5-59N-7848
Concerning:

Please list each target (individuals and entities) who is the subject
of the correspondence.

A copy of the Special Agent -in-Charge’s letter and ics
attachments is enclosed. You are reminded that Fed. R. Crim. P.
6 (2) (3) (B) requires that you furnish the court with the names of all
persons with access to grand jury material. Enclosed wii the Special.
Agent's letter are the IRS Counsel's memorandum and IRS Porm 9131
(Request for Grand Jury Investigation) which Jists all Tatecna tl
Revenue Service personnel to whom such material has been disclosed.

» Case 4:09-cr-00043-SPF Document 440-3 Filed in USDC ND/OK on 02/16/11 Page 20 of 20

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Please advise all Internal Revenue) Service personne] who assist
you in this investigation, and who will have access to grand jury

material, that such material is supplied to them on the following
conditions:

1. All grand jury material will ‘remain under the custody of the
grand jury, the United States Attorney, and the Tax
Division;

2. Disclosure of grand jury material may be made ouly te.
Internal Revenue Service personnel who are assistiry in the
investigation and formulating a recommendation ky the
Service regarding prosecution, and such Internal keverue
Service personnel may only use the grand jury matleriad for
this purpose; .

3. The Internal Revenue Service will furnish the Tax Nivision
with advice and a recommendation, whether favorable or
unfavorable, regarding the prosecution potential of this
case;

4, The Internal Revenue Service will return all grand jury
material to you when it is no longer needed for use in
advising and assisting the Department ot Justace in the
investigation of this matter.

If you have any questions about this case or your authority under
Directive 86-59, you may contact Tax Division, Western Criminal Chief
Ronald A. Cimino at. (202) 514-5762. Please acknowledge ieceipl ot

this Jetter and its enclosures,
Sincerely yours,

EBILEEN J. O’ CONNOR
Assistant Attorney General
Tax Division

By:
RONALD A. CIMINC
Chief, Western Criminas
Enforcement Section

“Enclosures
(1 Volume)

ca: Special Agent in Charge
Dallas, Texas

